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                          UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS

TONIA THOMPSON                             )
                            Plaintiff      )
v.                                         )      Case No. 16-2496-DDC
                                           )
TYSON FOODS, INC.                          )
                            Defendant      )

                                   INDEX OF EXHIBITS

       Pursuant to Local Rule 7.6(b), Plaintiff provides the following Index of Exhibits,

identifying by number each exhibit she references in her Response to Tyson Foods Inc.’s Motion

for Summary Judgment.

       1. Deposition of Simone Clifford (taken April 14, 2017)
       2. Deposition of Anthony “Tony” Richardson (taken May 11, 2017)
       3. Harassment/Discrimination Policy Training Acknowledgement Form (Richardson
          Deposition Exhibit 58)
       4. Hourly Corrective Action Form (Clifford Deposition Exhibit 21)
       5. Richardson New Hire Form (Richardson Deposition Exhibit 54)
       6. Deposition of Tonia Thompson (taken March 27, 2017)
       7. Deposition of Nina Erickson, Rule 30(b)(6) Representative for Tyson Foods, Inc.
          (taken July 25, 2017)
       8. Harassment/Discrimination Policy Training Acknowledgment Form and Policy
          (Erickson Deposition Exhibit 64)
       9. Amended Notice to Take Videotaped Deposition of Tyson Foods, Inc. (Erickson
          Deposition Exhibit 63)
       10. Investigation Opening Summary Form (Clifford Deposition Exhibit 4)
       11. Investigation Closing Summary (Clifford Deposition Exhibit 5)
       12. Written Warning for Simone Clifford (Clifford Deposition Exhibit 15)
       13. Pease Email dated Sept. 12, 2015 with Attachment (Clifford Deposition Exhibit 6)
       14. Hourly Corrective Action (Clifford Deposition Exhibit 21)
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15. Email with Attachment (Clifford Deposition Exhibit 29)
16. Hourly Corrective Action (Clifford Deposition Exhibit 37)
17. Hourly Corrective Action (Clifford Deposition Exhibit 38)
18. Email with Attachment (Clifford Deposition Exhibit 28)
19. Hourly Corrective Action (Clifford Deposition Exhibit 41)
20. Email with Attachment (Clifford Deposition Exhibit 42)
21. Internal Transfer Request (Clifford Deposition Exhibit 26)
22. Progressive Corrective Action Policy (Clifford Deposition Exhibit 2)
23. Statement of Shamika Vincent (Clifford Deposition Exhibit 9)
24. Statement of Jackie Smith (Clifford Deposition Exhibit 10)
25. Hourly Corrective Action (Clifford Deposition Exhibit 13)
26. Notes of Clifford’s Interview of Sharon Peoples (Clifford Deposition Exhibit 19)
27. Hourly Corrective Action (Clifford Deposition Exhibit 11)
28. Hourly Corrective Action (Clifford Deposition Exhibit 20)
29. Text Messages (Clifford Deposition Exhibit 3)
30. Declaration of Lakeyah Diane Gatson
31. Emails (Erickson Deposition Exhibit 70)
32. Emails (Erickson Deposition Exhibit 71)
33. Hourly Corrective Action (Clifford Deposition Exhibit 43)
34. Emails (Clifford Deposition Exhibit 44)
35. Emails (Clifford Deposition Exhibit 45)
36. Statement of Simone Clifford (Clifford Deposition Exhibit 47)
37. Text Messages (bates labeled T. Thompson 000021)
38. Declaration of Tonia Thompson
